Case 3:20-mj-03019-TJB > Filed O6/: of 4 PagelD: 26

 

Unrrep STATES DISTRICT CouRr

_for the District of New Jersey
United States of America

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Vv,

  
  

ORDER SETTING

CONDITIONS OF RELEASE
EARLIA J. DUDLEY

RR ea | Case Number: 20-mj-3019 (TIB)
Defendant

ORDERED on this 29TH day of

June 4 2020 that the release of the defendant is subject to the following conditions:
) a defendant must not violate any federal, state or local law while on release,
¢1endant must cooperate in the collection of a DNA sample if the collection j i
42 U.S.C, § 14135a, m ample if the collection is authorized by

(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
any change of address and/or telephone number, ,
(4) The defendant must appear in cout as required and must surrender to serve any sentence imposed,

Release on Bond
be fixed at g 150,000

and the defendant shall be released upon:

Executing an unsecured appearance bond {/| with co-signor(s) Shakarah, and Diane Moreland
| Executing a secured appearance bond [7] with co-signor(s)

 

 

 

r ‘ , and depositin
in cash in the registry of the Court % of the bail fixed; and/or {[] execute an agreement to forfeit me , 5
located at ‘

Court.

 

 

Kec ed property
. Local Criminal Rule 46.1(d)(3) waived/not waived by the
Co Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof:

Additional Conditions of Release

on finding that release by the

above methods will not by themselves reasonably assure the appearance of the defendant and the safe
ng and the community, it is further ordered that the release of the defendant is subject to the condition(s) listed below:
jer perso eo

ER ORDERED that, in addition to the above, the following conditions are imposed:

al Services (“PTS”) as directed and advise them immediately of any contact with law enforcement personnel,
including but not limited to, any arrest, questioning or traffic stop.

defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
The vic tim, or informant; not retaliate against any witness, victim or informant in this case,
a

The defendant shall be released into the third party oustody of Shakarah, and Diane Moreland
©

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure
the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
defendant violates any conditions of release or disappears.

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NI-CR-019({REV. 1/09)(modifled AO-199)

 

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pg DISTRICT COURT

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far strc of New Jersey
United States of America ORDER gertING .
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: . Case Number: 20-mj-3019 (TJB)

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Release on Bond

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[v1 Ex ec i £ i ” i or (s) Shakarah, and Diane Moreland €

 

 

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tn cash in the ENT _ Local Criminal Rule 46,1(d)(3) waived/not waived by the

 

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[_] peouting an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof;

Additional Conditions of Release

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The defendant shall not attempt to influence, intimidate, or injure any juror or judicial! officer; not tamper with any witness,
victim, oF informant; not retaliate against any witness, victim or informant in this case,

The defendant shall be released into the third party custody of Shakarah, and Diane Moreland

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defendant violates any iV. of release or disappears, d (c) to notify the court immediately in the event the

eM rLoke 712) 20

Custodian Signature:

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Case 3:20-mj-03019-TJB Document 15 Filed 06/30/20 Page 3 of 4 PagelD: 28

[v7] The defeng a nnsoted to employ Parmer
ant’s tray i ther Ua ats
St Is restricted to {y]New ersey {¥]° oo ices ( , 5). .

ved by Pretrial :
unless appro y travel documents. fh substance abuse testing

Surrender
| Ms | all passports and travel documents to PTS, Do not apply for now ering wit

Subst .
procedure pus ¢ testing and/or treatment as directed by PTS. Refrain from obstructing or famp
equipment, ms in any home in which the

Refrain

defenda: fem possessing a firearm, destructive device, or other dangerous WeaP ons.
Mental resides shall be removed and-verification provided to PTS.
|} Abstat calth testing/treatment as directed by PTS,
Maines from the use of alcohol,
= Matntein current residence or a residence approved by PTS,
FF No cont, r actively seek employment and/or commence an education program.
Cy Have ct with minors unless in the presence of a parent or guardian who is aware of the present offense,

no contact with the following individuals:

All firear

 
  
   

m components and abide by all the requirements of
jon system, You shall pay all

ther location verificat lt
ices office or supervising

the ,
program which will or ill not include electronic monitoring or 0
the pretrial servi

Ww
or part of the cost of the oer as upon your ability to pay as determined by

officer,
(i[_Jeurfew, You are restricted to your residence every day [_] from to or ( ) as directed by

Gi (On the pretrial services office or supervising officer; or
ome Detention. You are restricted to your residence at all times except for the following:
attorney visits; court

education; religious services; medical, substance abuse, or mental health treatment;
appearances; court-ordered obligations, or other activities pre-ap roved by the pretrial services office or
supervising officer, Additionally, employment[”] is permitted CI is not permitted.

hour lock-down except for medical

aly] Home Incarceration, You are restricted to your residence under
needs or treatment; employment; religious services, and court appearances, or other activities specifically
approved by the Court,

Defi ‘ ’
endant Is to tf in one of the following home confinement progra

G{_]No Computers - defendant is prohibited from possession and/or use of computers or connected

devices,
(iJ ]Computer - No Internet Access: defendant is permitted i devi j
pernitted access to the Internet (World Wide Web, FTP Sites, IRC Servow vstent Mec ah ecient
(h|_JComputer With Internet Access: defendant is permitted use of computers or connected devic
porn e aodess to the Internet (World Wide Web, FTP Sites, [RC Servers, Instant Mess neh a
gitimate and necessary purposes pre-approved by Pretrial Services at [ ] home [ ] for employment t60) for

purposes,
any computers in the home utilized

Gv_Ponsent of Other Residents -by consent of other residents in the home
, , ?
y other residents shall be approved by Pretrial Services, password protected by a third part di
Y custodian '

approved by Pretrial Services, and subject to inspection for campliance by Pretrial Seryi
Ces,

 

 

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IONS
THE DEFENDANT. ADVICE OF PENALTIES AND SANCT

OLLowm t for your arrest,
Fevocati Violatin H PENALTIES AND SANCTIONS: te issuance of a warrant for yout
. rbot lrofdnn an eng conditions of release pee ret n fa t covert of court and could result in imprisonmen
On, a forfeiture of any bond, and a prosecution fo
ten years an:
| if tt ison term of not more than ears |
Meanor offense omit a ishment is an additional prison | ill be consecutive (i.e,
any other mt Punishment sana oeet risen Term of not more than one year, This sentence will
Iti i : YOU receive, nal j ion; er wit!
*witess, vit, grime Piha by upto ten years in prison, and « $250,000 fine, or both, to: obstruct a criminal investigation; SSMmPEt Wit
i ictin, Pe informant, retaliate or attempt to retaliate against a witness victim, or informant; or intimidate or attemp

Juror, info , ar intimidation are significantly more:serious i
killing or attempted kiling of the court. The penalties for tampering, retaliation, or intimi

rel i i : rve a sentence, you may bi
Prosecuted for failing to pear on Owingly fail to *ppear as the conditions of release require, or to surrender to se >

Mrender and additional punishment may be im osed, If you are convicted of:
©) mofiense Punishable by death, life imprisonment or imprisonment for a term of fifteen years or more — you will be fined
000 or imprisoned for not more than 10 ears, or both;
©) an offense Punishable by imprisonment for aterm oftive years or more, but less than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;

3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

@) a misdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both,
additi tee em of 'mprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In

On, a failure to appear or Surrender may result in the forfeiture of any bond posted,

Acknowledgment of the Defendant

 
   
 

I acknowledge that I am the defendant in this case and that I am aware of the condjffon
of release, to appear as directed, and surrender to serve any sentence imposed, I am aware of

Cth
Defendant's Signature

‘[omtan wr

City and State

release, I promise to obey all conditions

enalties and sanctions set forth above,

Directions to the United States Marshal

HM The defendant is ORDERED released after processing,
(— ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk
posted bond and/or complied with all other conditions for release, If stil] in custody, the defendant
appropriate judge at the time and place specified, °

6/29/2020 Ty

or judge that the defendant has
must be produced before the

   

Judicial Officer's Signature
TONTANNE J. BONGIOVANNI U.S.MJ,
Printed Name and Title

 

*R-D19((REV, 1/09)(modified AO-199) no.
